






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00496-CV

NO. 03-09-00497-CV






Christina Prince, Appellant


v.


Texas Department of Family and Protective Services, Appellee






FROM COUNTY COURTS AT LAW NOS. 2, 4 OF WILLIAMSON COUNTY,

NOS. 07-2732-FC2, 08-282-FC4, HONORABLE JOHN MCMASTER, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Christina Prince appeals from the trial court's decrees terminating her rights to three
of her children: T.A.U., H.D.P., and H.A.P.  At the time of termination, T.A.U., H.D.P, and H.A.P.
were nine, four, and one, respectively.  The Texas Department of Family and Protective Services (the
"Department") originally initiated a case regarding T.A.U. and H.D.P.; however, shortly after the
Department opened the case, H.A.P. was born, and the Department started an additional case for
him.  From the time that the Department became involved in the case, Christina (1) was married to
Ronnie Prince.  Ronnie  is the father of H.D.P. and H.A.P. but not T.A.U.  After numerous hearings
occurring over more than a year, the trial court terminated Christina's rights to her children.   

	The Department first became involved in this case in 2007 when the Department
received a report regarding potential burn marks on T.A.U.  After receiving the report, the
Department sent Jennifer Williamson to investigate the claim and to interview T.A.U. 

	During her investigation, Williamson discovered that prior to Ronnie and Christina
moving to Texas, Ronnie had a criminal history of family violence, including injury to T.A.U. and
Christina.  Specifically, Williamson found out that a court in another state had previously ordered
Ronnie to have no contact with T.A.U. and H.D.P. because of an injury T.A.U. had sustained from
Ronnie, that the no-contact order was violated, and that the children were removed from Christina's
care because of the violation.  Further, Williamson discovered that Ronnie previously went to prison
for domestic violence.  In addition, Williamson learned that Ronnie had a history of drug abuse.  

	During her interviews with T.A.U., Christina, and Ronnie, Williamson obtained
further details regarding Ronnie's violent past, his drug use, and other issues.  For example, T.A.U.
related an incident where Ronnie attempted to assault Christina in a car but hit T.A.U. instead, which
resulted in T.A.U. getting a black eye.  Further, T.A.U. told Williamson that Ronnie would hit her
and H.D.P. in the face and that Ronnie spanked them hard enough to cause bruising. (2)  T.A.U. also
stated that she was going to get into trouble for talking to Williamson because she is not supposed
to discuss things that happen at home.  During an interview, Christina admitted that she and Ronnie
were physically aggressive with one another, that she had been arrested for assaulting Ronnie in front
of the children, and that during one of their fights, T.A.U. was hit in the eye.  Christina also stated
that she allowed Ronnie to discipline T.A.U. even though Ronnie had a history of family violence. 
	In addition to conducting her own interviews, Williamson also reviewed statements
T.A.U. made to an interviewer at the Children's Advocacy Center.  Specifically, T.A.U. stated that
she had seen Ronnie hit Christina, that Ronnie drinks and smokes "black brown" things that cause
him to act "weird," and that Ronnie and Christina leave her alone in the house sometimes.  

	After Williamson's investigation, the Department removed the three children from
the Princes' home.  At that time, the Department recommended family reunification for all three
children, and the trial court informed Christina that if she complied with the requirements of her
service plan, her children would likely be returned to her.  During a preliminary hearing, the
trial&nbsp;court ordered that the three children be returned to Christina but explicitly conditioned their
return on Ronnie vacating the residence and not having access to the children and on Christina
attending individual therapy sessions, participating in basic parenting classes, submitting to drug
tests, finding a suitable home, and finding a job. (3)  Those conditions were incorporated into various
orders and were repeated by the court several times, and Christina expressly promised to keep
Ronnie away from the children.  During subsequent hearings, the trial court repeatedly informed
Christina that she had to fully comply with the requirements imposed by the court, including
attending therapy and prohibiting Ronnie from having access to the children.  Further, the court
warned Christina that the cases would proceed to termination if she did not completely comply with
the requirements given to her.      

	After returning the children to Christina, the Department later removed the children
from Christina's custody again when Karen Kaufman (a therapist) informed the Department that
T.A.U. had made statements indicating that she might have been sexually abused.  When the
Department went to remove the children, Ronnie was in the home.  During a subsequent hearing,
Christina admitted that Ronnie had been found in the house, but she denied that he lived there. 
Christina also communicated that she allowed Ronnie to have access to their home when the children
were not around.  In later hearings, Christina assured the court that she had officially separated from
Ronnie and had stopped seeing him.  In fact, Christina stated that she had moved out of their house
in order to get away from him, that she no longer wanted Ronnie to have contact with the children,
that Ronnie was dangerous, and that she would comply with an order prohibiting her from allowing
Ronnie to have contact with the children.    	

	In a hearing occurring before the final termination proceeding, Christina again urged
that she was not living with Ronnie or anyone else; however, Christine Ashworth, a Department
representative, testified that she believed that a man was living with Christina in her new home. 
Specifically, Ashworth stated that she found men's clothing inside Christina's home and on a clothes
line outside. During the hearing, Ashworth also stated that Christina's home was not safe for
children.  Specifically, she testified that there were holes in the side of the home, that the boards
were rotted, that the door to the home had to be propped up by a shovel, and that feces or rotten meat
was on the ground close to the home.  

	Later, the landlord for Christina's new home, Klevon Smith, confirmed that Christina
was living with Ronnie right before the termination hearing.  After identifying Ronnie from a
photograph, Smith testified that Christina and Ronnie jointly rented a home from him, that Ronnie
lived in the home full-time, and that they lived in the home for several months until Smith evicted
them.  Further, Smith explained that Ronnie drank heavily and that the police had been called to the
Princes' home on several occasions.

	In addition to testimony showing that Christina allowed Ronnie to be in the Princes'
home, other evidence was introduced showing that Christina had failed to fully comply with the
other requirements imposed by the trial court.  For example, a Department employee testified that
Christina had missed a drug-testing appointment and had missed several of her individual therapy
appointments.    

	After several hearings were conducted, the Department switched the focus of the case
from reunification to termination, and a termination hearing was scheduled.  The hearing lasted
two&nbsp;days, and Christina did not attend either day.  Further, Christina's attorney informed the court
that Christina "knew about [the] hearing."  

	During the termination hearing, various witnesses testified, including therapists for
T.A.U., H.D.P., and Christina.  First, Kaufman, who was one of T.A.U.'s therapists, described her
therapy sessions with T.A.U.  Specifically, Kaufman related that during her sessions, T.A.U.
indicated that she had been physically and sexually abused.  According to Kaufman, T.A.U. also
stated that Ronnie had beaten her, had touched her inappropriately, and had threatened to hurt
Christina if T.A.U. ever discussed the abuse with anyone.  In addition, Kaufman testified that
therapeutic drawings that T.A.U. had made and certain physical behaviors that she engaged in were
consistent with sexual abuse, but she also admitted that her assessment of the drawings was highly
subjective and that T.A.U. is prone to fantasy.  Ultimately, Kaufman opined that T.A.U. should not
be placed into the custody of Ronnie or Christina.  

	Second, Ronnie Williams, another of T.A.U.'s therapists, testified regarding her
sessions with T.A.U.  In particular, Williams stated that she believed that T.A.U. was depressed, that
T.A.U. had experienced "a lot of trauma," that T.A.U. had been physically and emotionally abused,
and that T.A.U. had experienced "a lot of vicarious abuse I think between Ronnie and [Christina]";
however, Williams admitted that she could not recall any specific abuse allegations by T.A.U. 
Further, Williams testified that T.A.U. strongly disliked Ronnie.  Like Kaufman, Williams admitted
that T.A.U. tended to exaggerate and could be making up some of her claims.  Williams also related
that she did not see any evidence of a strong bond between T.A.U. and Christina, and Williams
recommended that T.A.U. not be returned to Christina's custody.  

	Third, H.D.P.'s therapist, Michelle Tarbell, testified regarding her therapy sessions
with H.D.P.  Specifically, Tarbell related that H.D.P. did not have a connection with Christina, never
freely mentioned her, never stated that he loved his mother, and could not readily recall regularly
interacting with his mother. (4)  Moreover, Tarbell expressed that H.D.P. had behavioral issues that
might require the primary care giver to have specialized training.  Further, she stated that placing
H.D.P. in an environment with domestic abuse would be detrimental to H.D.P. and that she opposed
placing H.D.P. into a home where Ronnie was present.    

	Finally, Deborah Taber, who was Christina's therapist, testified.  Taber related that
Christina would fluctuate between being very diligent in attending therapy and then missing therapy
sessions for weeks at a time.  Further, Taber stated that she eventually had to discontinue her therapy
sessions with Christina a few months before the termination hearing.  Regarding Christina's ability
to be an effective parent, Taber testified that after having 28 therapy sessions with Christina, she
could not recommend placing the children back into Christina's custody.  Specifically, she explained
that Christina's home was not a safe environment for children, that she was not working steadily,
that she was still involved with Ronnie, that she sometimes worked for a man belonging to a gang,
that she could not be a protective parent, and that she was very depressed.  Moreover, although her
recommendation was based on information obtained from other people, Taber warned that if the
children were placed into the custody of Christina, "they would be subject to violence, they would
be subject to drug use, instability, malnutrition.  Any possible type of neglect and abuse, possibly
sexual abuse, would be [her] concern."  

	In addition, Taber related the type of relationship that Christina said that she had with
Ronnie.  According to Taber, Christina explained that she and Ronnie were violent with one another,
that Ronnie threw parties where drugs were consumed, and that Christina was unable to stop Ronnie
from engaging in inappropriate activities, including allowing a relative to move into their home even
though the relative was an alcoholic that may have been "prostituting herself to obtain alcohol." 
Further, Taber related that at the time Christina moved to Texas, Ronnie was in prison for assaulting
Christina and that after his release, Ronnie immediately moved into her home.  In addition, Taber
expressed her belief that Christina was still involved with Ronnie and that Ronnie's presence would
not be beneficial for the children.  In fact, Taber testified that Christina had stated on more that one
occasion that she cannot function without Ronnie in her life.    

	At the conclusion of the termination hearing, the trial court determined that the
evidence weighed in favor of termination and signed an order terminating Christina's parental rights
and the parents rights of the children's fathers.  Specifically, the court found "by clear and
convincing evidence" that Christina constructively abandoned the children, demonstrated an inability
to provide the children with a safe environment, and "failed to comply with the provisions of a court
order that specifically established the actions necessary for [her] to obtain the return of the" children. 
See Tex. Fam. Code Ann. § 161.001(1)(N), (O) (West Supp. 2009).  Regarding T.A.U. and H.D.P.,
the court also found by "clear and convincing evidence" that Christina knowingly placed or allowed
the "children to remain in conditions or surroundings which endanger[ed]" their well-being and that
Christina "engaged in conduct or knowingly placed the children with persons who engaged in
conduct which undermine[d]" the children's well-being.  See id. § 161.001(1)(D), (E) (West Supp.
2009).  The court further found that it was in the children's best interests to terminate Christina's
parental rights.  

	Christina filed a notice of appeal and a statement of points on appeal, complaining
that there is insufficient evidence to support the termination and appointment of the Department as
permanent managing conservator and that the 15-day appellate deadline listed in the family code is
unconstitutional and violates the separation of powers.  See id.&nbsp;§ 263.405 (West 2008) (requiring
filing of statement of points within 15 days after final order is signed).  The statement of points also
sought to raise any issue that may be discovered upon reviewing the record.  However, on appeal,
Christina's appellate attorney has filed a brief stating that, after a thorough review of the record, he
has concluded that the appeal is frivolous. (5)  The brief presents a thorough and professional
evaluation of the record discussing and demonstrating why there are no arguable grounds for
reversal. (6)  A copy of the brief was delivered to Christina, and Christina has not filed a pro se brief. 
The Department filed a letter response stating that it agreed that there are no arguable grounds
for&nbsp;reversal.  

	We have conducted our own review of the record and agree that the appeal is
frivolous.  Accordingly, we affirm the trial court's decrees of termination.  In addition, we grant
Christina's counsel's motion to withdraw as attorney of record.  



					__________________________________________

					David Puryear,  Justice

Before Justices Patterson, Puryear, and Henson

Affirmed

Filed:   August 20, 2010
1.   Because several of the people involved in this case have identical last names, we will refer
to those individuals by their first names. 
2.   In her testimony, Williamson explained that she did not see any physical indication that
H.D.P. had been abused.  
3.   Ronnie initially agreed to these conditions as well, but he stopped participating in the case
shortly after one of his drug tests came back positive.  
4.   By the time Tarbell testified, H.D.P. had not seen his mother for approximately one year. 
5.   Christina's attorney notes that although a copy of Kaufman's therapy notes were admitted
as an exhibit, those notes are not in the reporter's record.  Christina's attorney asserts that even
though those notes are missing, the case should not be reversed for a new trial.  See Tex. R. App.
P.&nbsp;34.6(f) (explaining circumstances in which appellant should be given new trial when part of
record has been lost or destroyed).  Specifically, her attorney points out that Kaufman testified as to
the contents of her notes and that her testimony is in the record.  Alternatively, her attorney states
that the case can be affirmed on the ground that Christina repeatedly violated court orders.  We agree
that the missing notes do not warrant a reversal in this case.    
6.  This and other Texas courts have held that it is appropriate in a parental termination case
to file a brief asserting that the appeal is frivolous.  See, e.g., Matthews v. Texas Dep't of Protective
&amp; Regulatory Servs., No. 03-04-00184-CV, 2005 Tex. App. LEXIS 1231, at *2 (Tex. App.--Austin
Feb. 17, 2005, no pet.) (mem. op.); In re D.E.S., 135 S.W.3d 326, 329 (Tex. App.--Houston
[14th&nbsp;Dist.] 2004, no pet.); In re K.D., 127 S.W.3d 66, 67 (Tex. App.--Houston [1st Dist.] 2003,
no pet.).


